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                                     Exhibit D
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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   BROOKLYN DIVISION

    …………………………………………………X

    IN RE: EXACTECH POLYETHYLENE
    ORTHOPEDIC PRODUCTS LIABILITY
    LITIGATION                                          Case No.: 1:22-md-03044-NGG-MMH
                                                                    MDL No. 3044
                                                     [Proposed] STIPULATED PROTOCOL
                                                              REGARDING THE USE OF
                                                              TAR 2.0

                                                          Judge Nicholas G. Garaufis
    This Document Applies To:                             Magistrate Judge Marcia M. Henry

    All Cases

    …………………………………………………X


           1.     PURPOSE

           Federal Rule of Civil Procedure 34 permits the Parties to specify the form or forms in which

    electronically stored information (“ESI”) is to be produced. Pursuant to Rule 34, this TAR 2.0

    Protocol shall govern the review of electronically stored information collected from custodians in

    this litigation. The parties each reserve the right to seek exceptions, amendments, or modifications

    to this Order from the Court for good cause shown.

           2.     GENERAL

          Exactech, Inc. and Exactech U.S., Inc. (the “Exactech Defendants”) together with Plaintiffs

   (collectively, the “Parties”) have negotiated and hereby agree that following a TAR 2.0 workflow

   (“TAR REVIEW”) aims to achieve the speedy, just, effective, and cost-effective resolution of the

   discovery process to identify relevant electronically stored information (“ESI”) for subsequent

   rounds of custodian collections. This does not include documents already collected or to be

   collected as (1) responsive to requests for production, (2) as Readily Segregable Documents as

   defined in the ESI Protocol Order (Dkt. 88, at p. 7), or (3) by search terms. The Parties agree that

   the method used to identify potentially relevant documents should be reasonable and proportionate.
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   Unless explicitly stated, nothing in this Protocol supersedes any rights or obligations of the Parties

   under the existing to the ESI Protocol Order or Protective Orders.

           3.      DEFINITIONS

                   a.      ESI UNIVERSE – ESI collected from the custodians identified in

    Appendix B prior to any culling. The Parties will meet and confer regarding the treatment of

    documents later added to the TAR REVIEW SET if such documents are of a significantly

    different technical nature than the existing documents.

                   b.      TAR REVIEW SET – The review universe subject to TAR REVIEW

    less any documents within the review universe excluded from TAR REVIEW, which is the

    universe surviving the application of culling methodologies outlined in Section 4(a)(i)-(iii) on

    the ESI UNIVERSE. The Exactech Defendants will disclose to Plaintiffs the total number of

    documents in the TARREVIEW SET, as well if documents are added to or deleted from the TAR

    REVIEW SET later, the number of documents added or deleted, and the reason for the addition

    or deletion.

                   c.       TAR REVIEW EXCLUSIONS – Documents which are unsuitable for

    TAR REVIEW, but which are otherwise within the TAR REVIEW SET based on custodian

    restrictions. TAR REVIEW EXCLUSIONS shall be excluded from the processes applied to the

    TAR REVIEW SET and dispositioned by manual review, with the exception that TAR REVIEW

    EXCLUSION documents that are part of a TAR REVIEW family (for example, attachments to

    e-mails) shall be produced at the time the TAR REVIEW SET documents are produced. These

    EXCLUSIONS will include any documents lacking adequate text, or containing text in a quantity

    exceeding the TAR Review text limit of the eDiscovery platform, to the extent such a limit exists.

                   d.      TAR 2.0 – Technology that enables machine training to predict how

    documents should be coded based on human review. Human review and machine training occur
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    concurrently, and the machine re-trains and scores the document population based on the human

    reviewers’ responsiveness coding. TAR 2.0 continuously presents additional high-scoring

    documents (i.e., most likely to be responsive) to the human reviewers during the review. All tag

    decisions are made by human intervention only; TAR 2.0 never applies a tag to a document by

    itself. The relevant software is cloud-based eDiscovery platform, DISCO eDiscovery.

                   e.     ESTIMATION SAMPLE – A random sample of documents from the

    TAR REVIEW SET that reviewers code and the results are used to estimate the number of

    responsive documents (“PREVALENCE”) within the TAR REVIEW SET, at a 95% confidence

    level plus or minus a 5% margin of error.

                   f.     DISCARD PILE – The set of uncoded and not predicted responsive

    documents that remain from the TAR REVIEW SET, once the review has attained the TARGET

    RECALL (defined in Section 3(k) below).

                   g.     VALIDATION TEST – A test used to validate the accuracy of the TAR

    REVIEW. The goal of the VALIDATION TEST is to estimate the prevalence of responsive

    documents within the DISCARD PILE, and thereby calculate the recall as described herein.

                   h.     VALIDATION SAMPLE – The simple random sample taken from the

    DISCARD PILE to run the VALIDATION TEST.

                   i.     CONFIDENCE LEVEL – The probability that the responsiveness rate in

    the Sample Set will be representative of the responsiveness rate in the document set from which

    it is drawn.

                   j.     CONFIDENCE INTERVAL – The range of values represented by the

    results from a sample set. For example, a 95% +/- 5% confidence interval means that the true

    value will be within 5% of the value found in the sample set, with 95% confidence.

                   k.     RECALL – A measure of how many responsive documents the TAR
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    REVIEW model identified, compared to how many responsive documents exist in the TAR

    REVIEW SET.

                     l.          PREVALENCE – An estimate of the total number of responsive

    documents in the TAR REVIEW SET, i.e., the percentage of responsive documents within the

    Estimation Sample.

          4.      CULLING AND TAR REVIEW PROCESS

          The parties agree to a review process as follows below:

                     a.          Culling and Identification of TAR REVIEW SET.

   The criteria used to establish the TAR REVIEW SET consists of the following culling

   methodologies, which will be applied to the ESI UNIVERSE prior to application of TAR REVIEW:

                            i.   Custodians to Be Searched. Appendix A lists the first 12 Custodians

   referenced by the Court’s Order in Dkt. 399 for which search terms will be used for the search and

   collection methodology. The Exactech Defendants will review the ESI for the custodians listed in

   APPENDIX B as agreed by the Parties or ordered by the Court, that will be subjected to the TAR

   REVIEW process.

                          ii.    Global De-duplication Across Custodians. The Exactech Defendants will

   run global de-duplication across all custodians and include in the production an identification of all

   relevant custodians for a produced document (the “Custodians” field), as detailed in the ESI

   Protocol Order.

                          iii.   Threading. The Exactech Defendants will run threading to reduce the e-mails

   in the TAR REVIEW SET to only the most inclusive e-mails and attachments as described in the ESI

   Protocol Order (Dkt. 88). Threading will be performed on the family-inclusive population after the

   steps listed in 4(a)(i) – 4(a)(ii) have been completed. Threading will be used only to exclude non-

   inclusive and duplicative e-mails and attachments. The ESI Protocol Order (Dkt. 88) requirements
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   regarding most inclusive email threads will apply.

                      iv.    TAR REVIEW SET. The universe (families) surviving the culling

   methodologies in the entirety of Section 4(a)(i)-(iii) will result in the final TAR REVIEW SET on

   which TAR REVIEW will be applied.

                 b.          ESTIMATION SAMPLE.


                        i.   Parameters. After the Exactech Defendants perform the culling in Sections

   4(a)(i)-(ii), the Exactech Defendants will review an ESTIMATION SAMPLE. The Exactech

   Defendants will review the ESTIMATION SAMPLE and code these documents for responsiveness.

   Responsiveness coding will be document-level, based on a four-corners review (i.e., no family

   coding for responsiveness).

                       ii.   PREVALENCE CALCULATION. The Exactech Defendants will calculate

   the estimated PREVALENCE using the ESTIMATION SAMPLE. PREVALENCE will be

   calculated by dividing the number of responsive documents by the total number of documents in the

   Estimation sample.

                      iii.   The Exactech Defendants will disclose to Plaintiffs the metrics used to

   calculate the PREVALENCE.

                 c.          Review of TAR REVIEW SET.

                        i.   Once the ESI UNIVERSE is culled, the Exactech Defendants will begin

   reviewing documents in the TAR REVIEW SET following the TAR REVIEW process.

   Responsiveness coding will be document-level, based on a four-corners review (i.e., no family

   coding for responsiveness). The Exactech Defendants agree to perform quality control reviews

   during the TAR REVIEW.


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                  d.          VALIDATION TEST.

                         i.   PARAMETERS. When the Exactech Defendants finalize their review and

   have coded enough documents to have met the TARGET RECALL. The Exactech Defendants will

   run a VALIDATION TEST in accordance with the ESI Protocol Order based on the following

   parameters:

                              1)   Level of Confidence – 95%

                              2)   A Margin of Error (“MOE”) of plus or minus 2.5%

                              3)   Validation Sample– Simple random sample drawn from the Discard

                                   Pile

                              4)   Target Recall Rate: 75%


                        ii.   The Exactech Defendants will review the Validation Sample and code the

   Validation Sample documents as Responsive or Not Responsive to see if responsive documents

   remain, which ultimately result in the elusion calculations. Responsiveness coding will be document-

   level, based on a four-corners review (i.e., no family coding for responsiveness).

                       iii.   Recall Calculation. At the conclusion of the VALIDATION TEST, the

   Exactech Defendants will calculate the RECALL VALUE. The RECALL VALUE will be calculated

   by dividing the number of documents in the TAR REVIEW set coded as responsive by reviewers

   ("FOUND RESPONSIVE") by the sum of FOUND RESPONSIVE and the estimated number of

   responsive documents in the DISCARD PILE calculated by multiplying the number of documents

   in the DISCARD PILE by the percentage of documents in the Validation Sample coded as responsive

   in the VALIDATION TEST. The Parties agree that if the RECALL VALUE meets or exceeds the

   TARGET RECALL RATE set for in 4(d)(i)(4), then the review will be presumptively adequate and

   complete and the Exactech Defendants will stop the review and finalize its production. Responsive

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   documents coded during the VALIDATION TEST will be produced.

                      iv.   If the VALIDATION TEST has not resulted in meeting the TARGET

   RECALL RATE, the Exactech Defendants will resume their TAR REVIEW until the Exactech

   Defendants are confident that they have met their intended TARGET RECALL RATE. At such

   point, the Exactech Defendants will run a second VALIDATION TEST in accordance with Section

   4(d)(i). At a minimum, Exactech Defendants will review 2,000 additional documents between the

   first and the second validation test.

                      v.    After the second VALIDATION TEST, if the recall is lower than the

   TARGET RECALL RATE, the Exactech Defendants will provide metrics regarding recall level

   pursuant to the ESI Protocol Order (Dkt. 88). The parties will then meet and confer to address the

   need for additional review considering burden, proportionality, and the needs of the case, but the

   baseline presumption is that the review will continue, and the steps described in (d) (iii)-(v) will be

   repeated, until the TARGET RECALL RATE is met or exceeded during a VALIDATION TEST.

                      vi.   At the conclusion of the review, the Exactech Defendants agree to make

   available to Plaintiffs the non-privileged, documents from the VALIDATION SAMPLE to be

   viewable in the Exactech Defendant’s eDiscovery platform. The Exactech Defendants reserve the

   right to withhold from review within the VALIDATION SAMPLE any non-responsive privileged

   documents and any non-responsive documents with the potential to be protected by Rule 26(c) of

   the Federal Rules of Civil Procedure. Should a disagreement arise regarding the responsiveness of

   certain documents within the sample, the parties will meet and confer to resolve the disagreement.

   In no way will such a disagreement require the Exactech Defendants to review the DISCARD PILE,

   as long as the Exactech Defendants met the recall threshold as noted in 4(d)(iii) - (v).

                     vii.   For the avoidance of any doubt, the Exactech Defendants will have no

   obligation to review any documents remaining in the DISCARD PILE once the review has
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   concluded in accordance with Sections 4(d)(i) – (v) above, subject to the negotiations between the

   parties described in this Protocol, the ESI Protocol Order, or as ordered by the Court.

                       5.     MISCELLANEOUS

                       a.      Additional Considerations

                 i.             To the extent either Party can show that the TAR REVIEW is potentially

   systematically missing such documents, the Parties shall meet and confer regarding documents

   systematically left out of the review.

                ii.             Any responsive documents identified by the Defendants, subject to any

   privileges, protections or other basis exempting the document from discovery, will be produced,

   regardless of how the document was identified.

               iii.             The Parties understand that this is a cooperative process. The Parties

   undertake this process to obtain relevant documents as efficiently as can be achieved. The Parties

   should meet and confer as necessary to achieve those ends.

                      b.       Variations and Modifications

                            Variations from this Agreement may be required. Any practice or procedure set

   forth herein may be varied by agreement of the Parties, providing that such is confirmed in writing.

   In the event a Party determines that a variation or modification is appropriate or necessary to

   facilitate the timely and economical production of documents or ESI, the Party requesting

   modifications will notify the other Party of the variation or modification. Upon request by either

   Party, the Parties will meet and confer to address any issues in a reasonable and timely manner. No

   variations or modifications will be made without agreement or Court Order.




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                                     Appendix A
     Agreed Exactech Defendants’ Custodians Referenced in the August 22, 2023 Court Order
                                         (Dkt. 399)
1. Alvarez, Luis
2. Angibaud, Laurent
3. Barnes, Braden
4. Catanzarite, Josh
5. Crader, Michael
6. Davisson, Dawn
7. Jacobson, Kate
8. Kusuma, Sharat (MD)
9. Loftus, Edmund
10. Sarabia*, Xavier
11. Sosa, Miguel
12. Thompson, Bruce




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                                     Appendix B
                           Exactech Defendants’ Custodians
     1.   Miller, Gary
     2.   Petty, Bill
     3.   Phillips, Jody
     4.   Szabo, Steve




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